            Case 2:21-cv-00896-MSG Document 1 Filed 02/25/21 Page 1 of 4



                                  IN THE UNITED STATES DISTRICT COURT

                                      OF THE STATE OF PENNSYLVANIA



THERESA DORN,

PLAINFIFF
                                                                                     ,,

vs.                                                         EEOC CHARGE NO. S30-2021-00260




STATE OF DELAWARE,
                                                                                             FILED
DEFENDANT                                                                                    FEB 2 5 1D21
                                                                                          KATE BARKMAN, Clerk
                                                                                          By _ _ _ Dep. Clerk
                                                 COMPLAINT



      In the United States District Court in the State of Pennsylvania, the Plaintiff, Theresa Dorn, was

notified by the U.S. Equal Employment Opportunity Commission, also known as EEOC, that her charge

was not timely filed.

      Plaintiff, Theresa Dorn, acting as PRO SE, pleas with the Court to understand that the delay in

filing, is due to medical physicians could not diagnosis the medical condition until April 2020 which

found cognitive and vision disabilities.

      The Exhibit A, provides a copy of the plaintiff's test results.

      Plaintiff hereby shows in Exhibit B, a copy of the charge of discrimination.

      Plaintiff, Theresa Dorn, hereby pleas entitlement of relief.

                                                    I HEREBY ATTEST THIS TRUE AND CORRECT

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      LISA ANN ROSENBERGER
            Notary Public
          State of Delaware
      My Commission Expires On
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